 ~AO 2458       (Rev. 12/0)) Judgment in a Criminal Case
   NeED         Sheet I



                                           UNITED STATES DISTRICT COURT
                           Eastern                                      District of                              North Carolina
          UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                V.
                 AISHA CHRISTIAN                                               Case Number: 5:08-CR-368-2F

                                                                               USM Number:51440-056

                                                                               R. Clarke Speaks
                                                                               Defendant's Allomey
THE DEFENDANT:
~ pleaded guilty to count(s)         ,4 (Superseding Indictment)
                                     :........;:........;-'---~--_---:._-------------------------
o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                   Nature of Offense                                                   Offense Ended
18 U.S.C. § 4                                       Misprision of a Felony                                             2/6/2008          4s




       The defendant is sentenced as provided in pages 2 through               _ _5_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
(j Count(s)      Count 3 of mig & sup Indict                  0 is      ~ are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address unti I all fines, restitution, costs, and special assessments imposed by this judgment are fully paid If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economIc circumstances.

 Sentencing Location:                                                          7/20/2010
   Wilmington, NC                                                              Date of Imposition or .Judgment




                                                                                JAMES C. FOX, SENIOR U.S. DISTRICT JUDGE
                                                                               Name and Title of Judge


                                                                               7/20/2010
                                                                               Date




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AD 2458      (Rev. 12/03) Judgment in a Criminal Case
     NeED    Sheet 4-Probation
                                                                                                         Judgment-Page   ----2....- of       5
DEFENDANT: AISHA CHRISTIAN
CASE NUMBER: 5:08-CR-368-2F
                                                                PROBATION
The defendant is hereby sentenced to probation for a term of:
  COUNT 4 • 2 YEARS

The defendant shall not commit another federal. state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall sulimit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
¢      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check. if applicable.)
¢      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
o       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments slieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                             STANDARD CONDITIONS OF SUPERVISION
1.     The defendant shall not leave the judicial district or other specified geographic area without the permission of the court or probation
       officer.
2.     The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
       complete written report within the first five (5) days of each month.
3.     The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
4.     The defendant shall support the defendant's dependents and meet other family responsibilities.
5.     The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
       acceptable reasons.
6.     The defendant shall notify the probation officer at least then (10) days prior to any change of residence or employment.
7.     The defendant shall refrain from excessive use of alcohol and shall not purchase, possessbuse distribute, or administer any controlled
       substance, or any paraphernalia related to any controlled substance, except as prescribed y a physician.
8.     The defendant shall not frequent places where controlled substances are illegally sold, used distributed, or administered, or other
       places specified by the court
9.     The defendant shall not associate with any p'ersons engaged in criminal activity, and shall not associate with any person convicted of
       a felony unless granted permission to do so by the prolJaTIon officer.
10. The defendant shall permit a probation officer to visit the defendant at any time at home or elsewhere and shall permit confiscation of
    any contraband observed in plain view by the probation officer.
11. The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
    officer.
12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
    permission of the court.
13. As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
    criminal record or personal history or characteristics, and shall permtt the probation officer10 make such notilications and to confirm
    the defendant's compliance with such notification requirement.




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 NeED     Shcct 4A -- Probation
                                                                                            Judgmcnt - Pagc   ---.1- of      5
DEFENDANT: AISHA CHRISTIAN
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                                              ADDITIONAL PROBATION TERMS

 The defendant shall provide the probation office with access to any requested financial information.

 The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 office.

 The defendant shall perform 50 hours of community service as directed by the probation office and if referred for
 placement and monitoring by the State of North Carolina. pay the required $200.00 fee.

 The defendant shall consent to a warrantless search by a United States probation officer or, at the request of the probation
 officer, any other law enforcement officer, of the defendant's person and premises, including any vehicle, to determine
 compliance with the conditions of this judgment.

 The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 The defendant shall submit to a urinalysis test within fifteen days of release from imprisonment. and at least two periodic
 urinalysis tests thereafter, as directed by the probation officer pursuant to 18 U.S.C. § 3608.




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AO 245B   (Rev. 12/03) Judgment in a Criminal Case
  NeED    Sheet 5 ~ Criminal Monetary Penalties
                                                                                                         Judgment    Page     4      of       5
DEFENDANT: AISHA CHRISTIAN
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                                                   CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                                                                Restitution
TOTALS            $ 100.00                                               $                                  $



D The determination ofrestitution is deferred until                      An Amended JudRmenf in a Criminal ('ase (AO 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximatel)' prolJortioned payment, unless specified otherwise in
                                                                                                       *
     the priority order or percentage payment column below. However, pursuant to 18 U.S.c. 3664(i), all nonfederal victims must be paid
     before the United States is paId.

Name of Payee                                                                 Total Loss·        Restitution Ordered        Priority or Percentage




                                 TOT:...::A-=L=S                   _                    $0.00                       $0.00


CID Restitution amount ordered pursuant to plea agreement $
DO The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S .C. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      D the interest requirement is waived for the              D fine       D restitution.
     D the interest requirement for the              D   fine    D restitution is modified as follows:


.. Findings for the total amount of losses are required under Chapters 109A, 110, II OA, and I 13A of Title 18 for offenses committed on or after
September 13,1994, but before April 23, 1996.



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AO 2458    (Rev. 12/03) Judgment in a Criminal Case
  NeED     Sheet 6 -- Schedule of Payments
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                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    0    Lump sum payment of $                                  due immediately, balance due

           o     not later than                                      , or
           o     in accordance           o C,         0    D,    0     E, or     0 F below; or
B    0    Payment to begin immediately (may be combined with                   0 C,     0 D, or   0 F below); or
C    0    Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e .g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    0    Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    0    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    riI Special instructions regarding the payment of criminal monetary penalties:
           The special assessment imposed shall be due in full immediately.




Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



o    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




o    The defendant shall pay the cost of prosecution.

o    The defendant shall pay the following court cost(s):

o    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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